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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                                     MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                            SECTION “N-5"

                                                        JUDGE ENGELHARDT
                                                        MAG. JUDGE CHASEZ
THIS DOCUMENT IS RELATED TO ALL CASES
****************************************************

                                 NOTICE OF HEARING

TO:    ALL COUNSEL OF RECORD


       IT IS HEREBY ORDERED that Plaintiffs’ Motion for Leave to File Fifth

Supplemental and Amended Administrative Master Complaint is hereby set for the 14th day of

July, 2010, at 9:30 a.m.


                                   Respectfully submitted:

                                   FORMALDEHYDE TRAILER FORMALDEHYDE
                                   PRODUCT LIABILITY LITIGATION



                                   BY:    s/Gerald E. Meunier
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                                          s/Justin I. Woods
                                          JUSTIN I. WOODS, #24713
                                          PLAINTIFFS’ CO-LIAISON COUNSEL
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  Case 2:07-md-01873-KDE-MBN Document 14480-3 Filed 06/22/10 Page 2 of 2




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                                     COURT-APPOINTED PLAINTIFFS’
                                     STEERING COMMITTEE
                                          ANTHONY BUZBEE, Texas # 24001820
                                          ROBERT M. BECNEL, #14072
                                          RAUL BENCOMO, #2932
                                          FRANK D’AMICO, JR., #17519
                                          MATT MORELAND, #24567
                                          LINDA NELSON, #9938
                                          DENNIS REICH, Texas #16739600
                                          MIKAL C. WATTS, Texas #20981820



                               CERTIFICATE OF SERVICE


       I hereby certify that on June 22, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are

non-CM/ECF participants.
                                            s/Gerald E. Meunier
                                            GERALD E. MEUNIER, #9471
